                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA


SAMAYA MCRAINE,
                             Plaintiff,
                v.
CENTRAL PENINSULA HOSPITAL,                          Case No. 3:18-cv-00270-TMB

                            Defendant.


                               ORDER OF DISMISSAL

         Self-represented litigant Samaya Mcraine filed a Complaint Under the Civil

Rights Act 42 U.S.C. § 1983 on November 13, 2018 against Central Peninsula

Hospital, 1 along with a Civil Cover Sheet, 2 an Application to Waive the Filing Fee, 3

and a Motion to Appoint Counsel. 4

         Ms. Mcraine’s complaint indicates that she is seeking to file suit under 42

U.S.C. § 1983. Her civil cover sheet indicates that she is bringing a personal injury

action under HIPAA. She describes the cause as “federal standards for privacy of

individually identifiable health information and or security standards for the

protection of electronic protected health info.” 5



1   Docket 1.
2   Docket 2.
3   Docket 3.
4   Docket 4.
5   Docket 2.



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         The complaint, at Docket 1, names Central Peninsula Hospital as the only

defendant.       The complaint alleges that after seeking counseling at Central

Peninsula Hospital, she was later transferred and committed to Alaska Psychiatric

Institute (API). 6 The complaint alleges that Central Peninsula Hospital obtained

medical information about her, because a counselor at Central Peninsula Hospital

held three papers, which he would not show her, and asked her about prior health

and family incidents. Ms. Mcraine further questions or raises concerns about the

accuracy of the alleged records that Central Peninsula Hospital allegedly had. The

complaint does not specify a remedy from the Court. 7

         Ms. Mcraine further filed a Motion for Additional Defendant at Docket 6. In

her motion, Ms. Mcraine seeks to add Providence Hospital Alaska to her lawsuit.

The motion states:

         The records Central Peninsula Hospital had/used for involuntary
         admittance to that facility was records from Providence Hospital
         Alaska. My addition of defendant is to assist in resolution and
         location of files to stop further abuse to myself resulting from
         contents of material and that relevance to the incarceration and
         circumstances surrounding the records from family stories to
         actual events, experiences, and potential relationship to medicine
         and pop culture. Experience not only limited to arts, music TV,
         movies, news (AP Press) and directly through organizations Nami
         Anchorage, Southcentral Foundation specifically learning circles
         elements of Anchorage Community Mental Health, Anchorage
         School district, Wellspring Ministries Alaska, and Wellspring
         Church Alaska. Major elements of my personal life experiences

6   See Docket 1-1.
7   Docket 1 at 6-7, see also Docket 1-1.


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         at Catholic Social Services, AK Dep of Health Counselors Ann
         Gorsuch, psychiatrist.” 8

         Ms. Mcraine provides six exhibits to the Court with her motion, including prior

state court legal complaints, letters to medical providers, the ACLU, and to two

unknown parties. 9 Her exhibits provide first-hand accounts of her concerns with

various medical providers, medical procedures either performed or requested to

be performed, and her access to medical care, mental health care, housing

assistance, and other social services. 10

         Neither the complaint, nor the Motion for Additional Defendant articulate or

specify a remedy. 11

                             SCREENING REQUIREMENT

         Federal law requires a court to conduct an initial screening of a civil

complaint filed by a self-represented litigant seeking IFP status. 12               In this




8   Docket 6 at 1-2.
9   Docket 6-1 – 6-7.
10   See Docket 6-1 – 6-7.
11   See Docket 1 & 6.
12  See, e.g., Lopez v. Smith, 203 F.3d 1122, 1126 n.7 (9th Cir. 2000) (clarifying that the
relevant law, 28 U.S.C. § 1915(e) “applies to all [IFP] complaints,” and not just those
filed by prisoners).


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screening, a court shall dismiss the case at any time if the court determines that

the action:

                (i)     is frivolous or malicious;

                (ii)    fails to state a claim on which relief may be granted; or

                (iii)   seeks monetary relief against a defendant who is immune
                        from such relief. 13

         To determine whether a complaint states a valid claim for relief, courts

consider whether the complaint contains sufficient factual matter that, if accepted

as true, “state[s] a claim to relief that is plausible on its face.” 14 In conducting its

review, a court must liberally construe a self-represented plaintiff’s pleading and

give the plaintiff the benefit of the doubt. 15 Before a court may dismiss any portion

of a complaint for failure to state a claim upon which relief may be granted, the

court must provide the plaintiff with a statement of the deficiencies in the complaint




13   28 U.S.C. § 1915(e)(2)(B).
14Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550
U.S. 544, 570 (2007)). In making this determination, a court may consider “materials
that are submitted with and attached to the Complaint.” United States v. Corinthian
Colleges, 655 F.3d 984, 999 (9th Cir. 2011) (citing Lee v. L.A., 250 F.3d 668, 688 (9th
Cir. 2001)).
15See Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (citing Bretz v. Kelman, 773
F.2d 1026, 1027 n.1 (9th Cir. 1985) (en banc)).


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and an opportunity to amend or otherwise address the problems, unless to do so

would be futile. 16

                                      DISCUSSION

       Ms. Mcraine filed a complaint and then filed a Motion for an Additional

Defendant. Though this is not a proper way to amend a complaint, the Court has

reviewed both the complaint and the motion. Under the principle of liberal

construction, the Court will consider both the complaint and the motion in its

screening determination. As such, the Court will now refer to the content provided

in both the Complaint at Docket 1 and the Motion at Docket 6, solely as “the

complaint.”

       Ms. Mcraine’s complaint alleges concerns about possible violations of

medical privacy and her frustrations with her prior healthcare providers and local

social services. Ms. Mcraine seeks to bring a civil rights claim under 42 U.S.C. §

1983 against two Alaska hospitals, however the required elements of the statute

are not met. The named defendants are not state actors operating under the color

of state law, nor are there plausible facts to support a violation of constitutional or

federal law. The complaint raises Ms. Mcraine’s concerns but does not describe

or address an actual legal harm or request specific relief. Additionally, this Court

does not have jurisdiction to hear Ms. Mcraine’s action. For the reasons discussed


16See Gordon v. City of Oakland, 627 F.3d 1092, 1094 (9th Cir. 2010) (citing Albrecht v.
Lund, 845 F.2d 193, 195 (9th Cir. 1988)).


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below, the complaint fails to state a claim upon which relief may be granted. In

this case, amendment would be futile; therefore, leave to amend will not be

permitted.

                                     42 U.S.C. § 1983

         42 U.S.C. § 1983 is a federal statute that “is not itself a source of substantive

rights,” but provides “a method for vindicating rights [found] elsewhere.” 17 To state

a claim for relief under 42 U.S.C. § 1983, a plaintiff must “plead that (1) defendants

acting under color of state law (2) deprived plaintiff of rights secured by the federal

Constitution or federal statutes.” 18 To act under color of state law, a complaint

must allege that the defendants acted with state authority as state actors. 19 To be

deprived of a right, the defendant’s action needs to either violate rights guaranteed

by the Constitution or an enforceable right created by federal law. 20 Critically, a

plaintiff must establish a causal link between the state action and the alleged




17Graham v. Connor, 490 U.S. 386, 393-94 (1989) (quoting Baker v. McCollan, 443
U.S. 137, 144 n.3 (1979)).
18   Gibson v. United States, 781 F.2d 1334, 1338 (9th Cir. 1986).
19West v. Atkins, 487 U.S. 42, 49 (1988) (quoting United States v. Classic, 313 U.S.
299, 326 (1941)).
20Buckley v. City of Redding, 66 F. 3d 188, 190 (9th Cir. 1995); Blessing v. Freestone,
520 U.S. 329, 340-41 (1997).

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violation of his rights. 21 These essential elements must be pleaded in a § 1983

claim.

         42 U.S.C. § 1983 also requires that a defendant must be “acting under the

color of state law”. 22 This essential element of the statute limits who may be a

proper defendant under § 1983 litigation. For instance, private citizens, state

governmental agencies, and states are not proper defendants for a § 1983

action. 23    The question of whether a person who has allegedly caused a

constitutional injury was acting under the color of state law is a factual

determination. 24 A defendant has acted under color of state law where he or she

has “exercised power ‘possessed by the virtue of state law and made possible only

because the wrongdoer is clothed with the authority of state law.’” 25

         42 U.S.C. § 1983 does not confer constitutional or federal rights, but instead,

provides a mechanism for remedying violations of pre-existing constitutional or

federal rights. 26 Constitutional rights are those conferred by the U.S. Constitution


21Preschooler II v. Clark Cty. Sch. Bd. Of Trs., 479 F.3d 1175, 1183 (9th Cir. 2007)
(quoting Johnson v. Duffy, 588 F.2d 740, 743 (9th Cir. 1978)).
22   West, 487 U.S. at 49.
23See 42 U.S.C. § 1983; Flint v. Dennison,488 F.3d 816, 824-25 (9th Cir. 2007); Hale v.
Arizona, 993 F.2d 1387, 1398 (9th Cir. 1993) (en banc).
24   See Brunette v. Humane Soc’y of Ventura Cty., 294 F.3d 1205, 1209 (9th Cir. 2002).
25West, 487 U.S. at 49 (quoting Classic, 313 U.S. at 326); see also Tongol v. Usery,
601 F.2d 1091, 1097 (establishing that when state officials are administering a federal
funded program, the state officials are still acting under the color of state law).


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to individual citizens. Section 1983 can be used as a mechanism for enforcing the

rights guaranteed by a particular federal statute only if (1) the statute creates

enforceable rights and (2) Congress has not foreclosed the possibility of a § 1983

remedy for violations of the statute in question. 27 Section 1983 does not provide

a cause of action for violations of state law. 28 However, where a violation of state

law is also a violation of a federal constitutional right, § 1983 may provide a cause

of action. 29

         Importantly in a §1983 action, claims must demonstrate causation, or show

how the alleged defendant, acting under color of state law, violated the plaintiff’s

federal rights. A person deprives another of a federal constitutional or statutory

right, “within the meaning of § 1983, ‘if he does an affirmative act, participates in

another’s affirmative act, or omits to perform an act which he is legally required to

do that causes the deprivation of which complaint is made.’” 30 The required causal

connection “may be established when an official sets in motion a ‘series of acts by




26   Graham v. Connor, 490 U.S. 386, 393-94 (1989).
27Blessing v. Freestone, 520 U.S. 329, 340-41 (1997); Dittman v. California, 191 F.3d
1020, 1027-28 (9th Cir. 1999).
28   Galen v. Cty. of Los Angeles, 477 F.3d 652, 662 (9th Cir. 2007).
29   Lovell v. Poway Unified Sch. Dist., 90 F.3d 367, 370 (9th Cir. 1996).
30Preschooler II v. Clark Cty. Sch. Bd. Of Trs., 479 F.3d 1175, 1183 (9th Cir. 2007)
(quoting Johnson v. Duffy, 588 F.2d 740, 743 (9th Cir. 1978)).

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others which the actor knows or reasonably should know would cause others to

inflict’ constitutional harms.” 31

         Ms. Mcraine’s complaint does not allege wrong doing by a state actor. 32

Central Peninsula Hospital is an independent, not for profit hospital that operates

with a Lease and Operating Agreement with the Kenai Peninsula Borough.

Similarly, Providence Hospital Alaska is a part of a not-for-profit religious hospital

network. Neither of the named defendants are state actors.

         Furthermore, Ms. Mcraine’s primary allegation focuses on the transfer or

dissemination of private medical information.             No constitutional right exists

regarding medical data privacy. Additionally, the Health Insurance Portability and

Accountability Act, better known as HIPAA, does not provide a cause action or

remedy for privacy violations. Though this federal law provides data privacy and

security protocols for protecting personal medical information, the law does not

provide a mechanism for individuals to sue persons or entities for violations of

HIPAA. Depending on the facts, an individual may be able to sue healthcare

providers for damages in state court for violations of state law. Ms. Mcraine’s other




31   Preschooler II, 479 F.3d at 1183 (quoting Johnson, 588 F.2d at 743).
32The Court takes judicial notice of the organizational tax status of Central Peninsula
Hospital and Providence Hospital. Judicial notice is the “court’s acceptance, for
purposes of convenience and without requiring a party’s proof, of a well-known and
indisputable fact; the court’s power to accept such a fact.” Black’s Law Dictionary (10th
ed. 2014).


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primary frustration regarding her medical providers and lack of social services does

not have a federal legal protection either under the Constitution or federal law.

       Lastly, Ms. Mcraine’s complaint does not demonstrate causation.

Ms. Mcraine raises broad concerns about her medical privacy, medical care,

mental health, ability to access social services, and her housing situation.

However, no details exist demonstrating that a state actor took a specific action in

violation of her rights.

       In sum, in order to plead a proper § 1983 claim, a plaintiff must allege

plausible facts that if proven would establish each of the required elements of: “(1)

a violation of rights protected by the Constitution or created by federal statute, (2)

proximately caused (3) by conduct of a ‘person’ (4) acting under color of state

law.” 33    Ms. Mcraine’s complaint does not demonstrate a violation of either

constitutional rights or federal statute because of conduct by a person acting under

the color of state law. Without these required elements, Ms. Mcraine’s complaint

is deficient to the degree that amendment is futile, and her case must be dismissed

with prejudice.




33
 Gibson v. United States, 781 F.2d 1334, 1338 (9th Cir. 1986); see also Pistor v.
Garcia, 791 F.3d 1104, 1114 (9th Cir. 2015).


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                                           Jurisdiction

          Jurisdiction is “[a] court's power to decide a case or issue a decree.” 34 A

court’s subject matter jurisdiction is its “statutory or constitutional power to

adjudicate a case.” 35 As a federal court, this Court has limited subject matter

jurisdiction. It possesses “only that power authorized by the Constitution and

statute.” 36 This means that the Court has the authority to hear only specified types

of cases. 37 “In civil cases, subject matter jurisdiction is generally conferred upon

federal district courts either through diversity jurisdiction, 28 U.S.C. § 1332, or

federal question jurisdiction, 28 U.S.C. § 1331.” 38

          Federal question jurisdiction provides a federal court the authority to

consider cases brought under the United States Constitution or federal statutes. 39

The complaint does address any federal statute or constitutional issue. 40 Because




34   Black’s Law Dictionary (9th ed. 2009) (definition of “jurisdiction”).
35
     Steel Co. v. Citizens for Better Environment, 523 U.S. 83, 89 (1998).
36Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations
omitted); see also, e.g. A-Z Intern.v. Phillips, 323 F.3d 1141, 1145 (9th Cir. 2003).
37See, e.g., United States v. Marks, 530 F.3d 779, 810 (9th Cir. 2008), citing
DaimlerChrysler v. Cuno, 547 U.S. 332, 342 (2006); United States v. Sumner, 226 F.3d
1005, 1010 (9th Cir. 2000).
38   Peralta v. Hispanic Bus., Inc., 419 F.3d 1064, 1068 (9th Cir. 2005).
39   28 U.S.C. § 1331.
40   See Docket 1.


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the complaint does not clearly describe a violation of the U.S. Constitution or a

federal statute that is redressable by a private citizen in federal court, this Court

does not have federal question jurisdiction over this case.

           Diversity jurisdiction requires that the plaintiff have “citizenship which is

diverse from that of every defendant” and an amount in controversy greater than

$75,000. 41       This means that this Court could have jurisdiction over a case

(Including one involving only state law issues) where the plaintiff demonstrates that

she is a citizen of a different state than the citizenship of each of the defendants. 42

However, if any of the defendants share citizenship with Ms. Mcraine, then no

diversity jurisdiction exists. 43    While Ms. Mcraine does not formally establish

citizenship, the pleadings indicate that Ms. Mcraine and her defendants are Alaska

citizens. 44 Additionally, neither the complaint, nor the cover sheet establish an

amount in controversy. Because she has not demonstrated diverse citizenship

here, nor an amount in controversy, this Court does not have diversity jurisdiction

over her complaint.



41 28 U.S.C. § 1332; See Cook v. AVI Casino Enterprises, Inc., 548 F.3d 718, 722 (9th
Cir. 2008) (quoting Caterpillar, Inc. v. Lewis, 519 U.S. 61, 68 (1996) (diversity
jurisdiction requires “complete diversity of citizenship”)).
42   Id. (quoting Kokkonen, 511 U.S. at 377).
43   Id.
44The Court takes judicial notice that Central Peninsula Hospital is located in Soldotna,
Alaska and Providence Hospital is located in Anchorage, Alaska; see also Docket 2.


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         This Court has neither federal question jurisdiction, nor diversity jurisdiction

over this case. Therefore, this Court has no subject matter jurisdiction over this

matter. When a court determines “that it lacks subject matter jurisdiction, the court

must dismiss the action.” 45 In light of the foregoing, Ms. Mcraine’s complaint must

be dismissed for lack of subject matter jurisdiction.




IT IS THEREFORE ORDERED:

1. The Complaint is DISMISSED WITH PREJUDICE for failure to state a claim

      upon which relief may be granted.

2. All pending motions are DENIED AS MOOT.

3. The Clerk of Court is directed to enter a Final Judgment in this case.

         DATED at Anchorage, Alaska this 8th day of March, 2019.

                                                          /s/ Timothy M. Burgess
                                                          HON. TIMOTHY M. BURGESS
                                                          United States District Judge




45   Fed. R. Civ. P. (12)(h)(3).


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